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 8                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 9
     ARIANNY CELESTE LOPEZ, BROOKE                       Case No. 2:19-CV-01842-JCM-BNW
10   JOHNSON aka BROOKE TAYLOR,
     CAITLIN O’CONNOR, CLAUDIA
11   SAMPEDRO, DANIELLE RUIZ, IRINA
     VORONINA, JESSICA HINTON a/k/a
12   JORDAN CARVER, LINA POSADA, LUCY                    STIPULATION AND ORDER FOR
     PINDER, MARIANA DAVALOS, ROSIE                      EXTENSION OF TIME FOR DEFENDANT
13   JONES, ROSIE ROFF, SARA                             TO RESPOND TO PLAINTIFFS’
     UNDERWOOD, SHEENA WEBER a/k/a                       OPPOSITION TO DEFENDANT’S MOTION
14   SHEENA LEE, and TYRAN RICHARD,                      TO DISMISS
15                          Plaintiffs,                  (First Request)
16           v.

17   D. WESTWOOD, INC. d/b/a TREASURES
     GENTLEMEN’S CLUB,
18
                            Defendants.
19

20           Defendant D. Westwood, Inc. d/b/a Treasures Gentlemen’s Club, by and through its counsel
21   of record Wilson, Elser, Moskowitz, Edelman & Dicker, LLP, and Plaintiffs Arianny Celeste Lopez,
22   Brooke Johnson aka Brooke Taylor, Caitlin O’Connor, Claudia Sampedro, Danielle Ruiz, Irina
23   Voronina, Jessica Hinton a/k/a Jordan Carver, Lina Posada, Lucy Pinder, Mariana Davalos, Rosie
24   Jones, Rosie Roff, Sara Underwood, Sheena Weber A/K/A Sheena Lee, and Tyran Richard, by and
25   through their counsel of record, Alverson Taylor & Sanders, Attorneys at Law, hereby stipulate and
26   agree to extend the deadline for Defendant to file its reply to Plaintiffs’ opposition to Defendant’s
27   motion to dismiss up to and including October 2, 2020. Plaintiffs had filed the opposition (ECF No.
28   26) on September 11, 2020.

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 1           This stipulation is submitted in compliance with LR IA 6-1.

 2           This is the parties’ first request for extension of this deadline. The parties affirm that this

 3   extension is sought in good faith and not for the purpose of delay.

 4           IT IS SO STIPULATED.

 5   Dated this 17th day of September, 2020.                  Dated this 17th day of September, 2020.

 6   ALVERSON TAYLOR & SANDERS                                WILSON ELSER MOSKOWITZ EDELMAN
                                                              & DICKER LLP
 7

 8   /s/ Kurt B. Bonds                                        /s/ I-Che Lai
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     Attorneys for Plaintiffs                                 Attorneys for Defendant D. Westwood, Inc.
12                                                            d/b/a Treasures Gentlemen’s Club
13

14                                                    ORDER
15           Based upon the stipulation of the parties and good cause appearing, the deadline for
16   Defendant to file its reply to Plaintiffs’ opposition to Defendant’s motion to dismiss is extended to
17   October 2, 2020.
18           IT IS SO ORDERED:
19

20                                          _______________________________________
                                            DISTRICT
                                            UNITED   COURTDISTRICT
                                                    STATES   JUDGE JUDGE
21

22
                                                        September 18, 2020
23                                           DATED:
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